899 F.2d 1565
    OREGON NATURAL RESOURCES COUNCIL;  Hells Canyon PreservationCouncil;  Friends of Lake Fork;  Ric Bailey,Plaintiffs-Appellants,v.Richard LYNG, Secretary of Agriculture;  U.S. ForestService;  Robert Richmond, Wallowa-WhitmanNational Forest Supervisor, Defendants-Appellees,Eagle Cap Logging, Inc.;  RMH Aeroservices, Inc.;Boise-Cascade Corp.;  Ellingson Lumber Co.;  Idaho TimberCorp. of Oregon, Inc.;  North Powder Lumber Co.;  SequoiaForest Industries;  Union Forest Products Co.;  NorthwestTimber Workers Resource Council;  Save Our Snake,Defendant-Intervenors-Appellees.
    No. 88-4092.
    United States Court of Appeals,Ninth Circuit.
    April 19, 1990.
    
      Before WRIGHT, REINHARDT and TROTT, Circuit Judges.
    
    ORDER
    
      1
      In his petition for rehearing, the Secretary contends that he was not given an adequate opportunity to be heard on the issue of attorneys' fees.  We agree.  Accordingly, the opinion is amended by deleting Section IV entitled "Attorneys' Fees," 882 F.2d 1417 at pages 1427-28 and replacing it with the following:
    
    
      2
      ONRC seeks attorneys' fees under the Equal Access to Justice Act for both the underlying district court action and for the appeal.  Pursuant to Circuit Rule 39-1.8, consideration of all such fee matters is ordered transferred for a determination de novo to the district court.
    
    
      3
      At page 1428, the fourth sentence of the CONCLUSION starting with "On remand, the district court...." is ordered deleted from the opinion.
    
    
      4
      With the opinion so amended, the panel has voted unanimously to deny the petitions for rehearing filed by both parties.  Both are denied.
    
    
      5
      SO ORDERED.
    
    